                      Case 20-33801 Document 1 Filed in TXSB on 07/30/20 Page 1 of 23


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   02/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Denbury Resources Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          5320 Legacy Drive
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Plano,                           TX        75024
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Collin County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.denbury.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Denbury Resources Inc.                                            Case number (if known)
           Name



                                           A. Check One:
7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           ☒ None of the above

                                           B. Check all that apply:
                                           ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           2111 - Oil and Gas Extraction

8. Under which chapter of the              Check One:
   Bankruptcy Code is the
   debtor filing?                          ☐ Chapter 7

                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:

                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                               4/01/22 and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return, or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ The debtor is a small business as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                               proceed under Subchapter V of Chapter 11.
                                                             ☒ A plan is being filed with this petition.

                                                             ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.      District                           When                      Case number
   within the last 8 years?                                                                   MM/DD/YYYY
     If more than 2 cases, attach a               District                           When                      Case number
     separate list.                                                                           MM/DD/YYYY

10. Are any bankruptcy cases          ☐ No
    pending or being filed by a       ☒ Yes.                                                                   Relationship     Affiliate
                                                  Debtor      See Schedule A
    business partner or an
    affiliate of the debtor?                      District    Southern District of Texas
                                                                                                               When             7/30/2020

     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           Denbury Resources Inc.                                               Case number (if known)
              Name


       List all cases. If more than 1,                                                                                                  MM / DD / YYYY
       attach a separate list.                         Case number, if known _______________________

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?1
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☒    25,001-50,000
        creditors2                        ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999




1      The Debtors engage in the exploration, development, and production of oil and natural gas. Certain Debtors possess or operate certain real
       property with existing contamination where remediation efforts are presently underway. Although the Debtors are not aware of any definition of
       “imminent or identifiable hazard” as used in this form, the Debtors do not believe they own or possess any real or personal property (including the
       aforementioned property) that poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety.

2      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Denbury Resources Inc.                                                Case number (if known)
          Name



15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000           ☐     $10,000,001-$50 million               ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million             ☐    More than $50 billion




16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                ☐   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million               ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million              ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million             ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         7/30/2020
                                                              MM/ DD / YYYY


                                              /s/ Christian S. Kendall                                          Christian S. Kendall
                                              Signature of authorized representative of debtor               Printed name

                                              Title        Chief Executive Officer




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                      Date        7/30/2020
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                               Texas             77010
                                              City                                                                  State               ZIP Code
                                              (713) 752-4200                                                              mcavenaugh@jw.com
                                              Contact phone                                                               Email address
                                              24062656                                                Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:
                                                                 ,
 United States Bankruptcy Court for the:
                      Southern District of Texas
                                     (State)                                              ☐ Check if this is an
 Case number (if                                                                              amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Denbury Resources Inc.

    1.    Denbury Resources Inc.
    2.    Denbury Air, LLC
    3.    Denbury Brookhaven Pipeline Partnership, LP
    4.    Denbury Brookhaven Pipeline, LLC
    5.    Denbury Gathering & Marketing, Inc.
    6.    Denbury Green Pipeline-Montana, LLC
    7.    Denbury Green Pipeline-North Dakota, LLC
    8.    Denbury Green Pipeline-Riley Ridge, LLC
    9.    Denbury Green Pipeline-Texas, LLC
    10.   Denbury Gulf Coast Pipelines, LLC
    11.   Denbury Holdings, Inc.
    12.   Denbury Onshore, LLC
    13.   Denbury Operating Company
    14.   Denbury Pipeline Holdings, LLC
    15.   Denbury Thompson Pipeline, LLC
    16.   Encore Partners GP Holdings, LLC
    17.   Greencore Pipeline Company, LLC
    18.   Plain Energy Holdings, LLC
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Official Form 201A (12/15)

                                      IN THE UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
DENBURY RESOURCES INC.,                                              )   Case No. 20-___________(___)
                                                                     )
                                  Debtor.                            )
                                                                     )
    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

     19. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
 number is    1-12935

     20. The following financial data is the latest available information and refers to the debtor’s condition on
 March 31, 2020


         (a)   Total assets                                              $   4,607,091,000
         (b)   Total debts (including debts listed in 2.c., below)       $   3,117,646,000
         (c)   Debt securities held by more than 500 holders
                                                                                                           Approximate
                                                                                                           number of
                                                                                                           holders:
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $


         (d)   Number of shares of preferred stock                                                         0
         (e)   Number of shares of common stock                                                            506,481,777


         Comments, if any:




     21. Brief description of debtor’s business: Denbury Resources Inc. is an independent oil and natural gas company
 predominantly focused on carbon dioxide enhanced oil recovery. Denbury Resources Inc. and its affiliates have onshore
 production and development activities in the Gulf Coast and Rocky Mountains regions.


      22. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
 voting securities of debtor:
 BlackRock, Inc.; The Vanguard Group; and State Street Corp.
             Case 20-33801 Document 1 Filed in TXSB on 07/30/20 Page 7 of 23




                           IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                         )
    In re:                                               )       Chapter 11
                                                         )
    DENBURY RESOURCES INC.,                              )       Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                 Equity Holders             Address of Equity Holder       Percentage of
                                                                                               Equity Held
                                                             55 East 52nd Street, New York,
    Denbury Resources Inc.      BlackRock, Inc.                                                    9.70%
                                                             NY 10055
                                                             100 Vanguard Blvd., Malvem,
    Denbury Resources Inc.      The Vanguard Group                                                 7.40%
                                                             PA 19355
                                                             State Street Financial Center,
    Denbury Resources Inc.      State Street Corp.           One Lincoln Street, Boston, MA        7.22%
                                                             02111




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       of the date of commencement of the chapter 11 case.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 DENBURY RESOURCES INC.,                              )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 BlackRock, Inc.                                                              9.70%
 The Vanguard Group                                                           7.40%
 State Street Corp.                                                           7.22%
                                  Case 20-33801 Document 1 Filed in TXSB on 07/30/20 Page 9 of 23



    Fill in this information to identify the case:
    Debtor name Denbury Resources Inc et al.
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (If known): ___________                                                                                                  Check if this is an
                                                                                                                                          amended filing

    Official Form 204

    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                             12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
    the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
    not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
    creditor among the holders of the 30 largest unsecured claims.
    Name of creditor and complete mailing address, Name, telephone number, and email              Nature of the claim     Indicate if claim   Amount of unsecured claim
    including zip code                             address of creditor contact                    (for example, trade    is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                  debts, bank loans,     unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                  professional services, disputed             claim amount and deduction for value of collateral or
                                                                                                  and government                              setoff to calculate unsecured claim.
                                                                                                  contracts)
                                                                                                                                              Total claim, if    Deduction for      Unsecured claim
                                                                                                                                              partially          value of
                                                                                                                                              secured            collateral or
                                                                                                                                                                 setoff
                                                        Attn: QUINTON M. DEPOMPOLO
                                                        Title: GLOBAL CAPITAL MARKETS
   WILMINGTON TRUST, NATIONAL
                                                        BANKING OFFICER
   ASSOCATION                                                                         6.375% Convertible
                                                        Phone: (612) 217-5670
 1 15950 NORTH DALLAS PARKWAY                                                          Senior Notes Due                                                                              $   225,663,000
                                                        Email:
   SUITE 550                                                                                 2024
                                                        QDEPOMPOLO@WILMINGTONTRUST.
   DALLAS, TX 75248
                                                        COM
                                                        Fax: (612) 217-5651
                                                        Attn: QUINTON M. DEPOMPOLO
                                                        Title: GLOBAL CAPITAL MARKETS
   WILMINGTON TRUST, NATIONAL
                                                        BANKING OFFICER
   ASSOCATION                                                                           4.625% Senior
                                                        Phone: (612) 217-5670
 2 15950 NORTH DALLAS PARKWAY                                                         Subordinated Notes                                                                             $   135,960,000
                                                        Email:
   SUITE 550                                                                              Due 2023
                                                        QDEPOMPOLO@WILMINGTONTRUST.
   DALLAS, TX 75248
                                                        COM
                                                        Fax: (612) 217-5651
                                                        Attn: QUINTON M. DEPOMPOLO
                                                        Title: GLOBAL CAPITAL MARKETS
   WILMINGTON TRUST, NATIONAL
                                                        BANKING OFFICER
   ASSOCATION                                                                           5.500% Senior
                                                        Phone: (612) 217-5670
 3 15950 NORTH DALLAS PARKWAY                                                         Subordinated Notes                                                                             $     58,426,000
                                                        Email:
   SUITE 550                                                                              Due 2022
                                                        QDEPOMPOLO@WILMINGTONTRUST.
   DALLAS, TX 75248
                                                        COM
                                                        Fax: (612) 217-5651
                                                        Attn: QUINTON M. DEPOMPOLO
                                                        Title: GLOBAL CAPITAL MARKETS
   WILMINGTON TRUST, NATIONAL
                                                        BANKING OFFICER
   ASSOCATION                                                                           6.375% Senior
                                                        Phone: (612) 217-5670
 4 15950 NORTH DALLAS PARKWAY                                                         Subordinated Notes                                                                             $     51,304,000
                                                        Email:
   SUITE 550                                                                              Due 2021
                                                        QDEPOMPOLO@WILMINGTONTRUST.
   DALLAS, TX 75248
                                                        COM
                                                        Fax: (612) 217-5651
                                                        Attn: JAKE PLUNK
    FDL OPERATING LLC                                   Title: CEO
 5 5221 N O CONNOR BLVD                                 Phone: (972) 332-1419           Trade Payables                                                                               $      1,581,389
    IRVING, TX 75039-3714                               Email: JPLUNK@FDLENERGY.COM
                                                        Fax: (855) 299-5083
                                                        Attn: RICHARD H. MILLS, JR.
                                                        Title: CEO
    TELLUS OPERATING GROUP LLC
                                                        Phone: (601) 898-7444
 6 602 CRESCENT PL # 100                                                                Trade Payables                                                                               $        453,397
                                                        Email:
    RIDGELAND, MS 39157
                                                        RMILLS@TELLUSOPERATING.COM
                                                        Fax: (601) 898-7445




Official Form 204                                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                          Page 1
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Debtor   Denbury Resources Inc et al.                                                                                                                      Case number (if known)___________________




     Name of creditor and complete mailing address, Name, telephone number, and email        Nature of the claim     Indicate if claim   Amount of unsecured claim
     including zip code                             address of creditor contact              (for example, trade    is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                             debts, bank loans,     unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                             professional services, disputed             claim amount and deduction for value of collateral or
                                                                                             and government                              setoff to calculate unsecured claim.
                                                                                             contracts)
                                                                                                                                         Total claim, if    Deduction for      Unsecured claim
                                                                                                                                         partially          value of
                                                                                                                                         secured            collateral or
                                                                                                                                                            setoff
                                          Attn: GENE ZAID
     JACAM CHEMICALS 2013 LLC
                                          Title: CEO
 7 205 S BROADWAY                                                                                Trade Payables                                                                 $        393,221
                                          Phone: (620) 278-3355
     STERLING, KS 67579
                                          Email: GENE.ZAID@JACAM.COM
                                          Attn: BOBBY BERRY
     WOOD GROUP PSN INC                   Title: VICE PRESIDENT
 8   17325 PARK ROW DR                    Phone: (281) 647-1041                                  Trade Payables                                                                 $        336,602
     HOUSTON, TX 77084                    Email:
                                          BOBBY.BERRY@WOODGROUP.COM
     ENTERGY                              Attn: LEO P DENAULT
     639 LOYOLA AVE                       Title: CEO
 9                                                                                               Trade Payables                                                                 $        324,592
     STE 300                              Phone: (504) 576-4000
     NEW ORLEANS, LA 70113                Email: LDENAULT@ENTERGY.COM
                                          Attn: LORENZO SIMONELLI
     BAKER HUGHES OILFIELD OPERATIONS INC Title: PRESIDENT & CEO
10    17021 ALDINE WESTFIELD RD           Phone: (713) 439-8600                                  Trade Payables                                                                 $        286,031
     HOUSTON, TX 77073-5101               Email:
                                          LORENZO.SIMONELLI@BHGE.COM
                                          Attn: RON PEDERSON
                                          Title: PRESIDENT
     STEEL SERVICE OILFIELD TUBULAR INC
                                          Phone: (918) 286-1500
11   8138 E 63RD ST                                                                              Trade Payables                                                                 $        229,686
                                          Email:
     TULSA, OK 74182
                                          RP@STEELSERVICEOILFIELD.COM
                                          Fax: (918) 286-1508
                                          Attn: FRANK SAMS
     JD RUSH CORPORATION
                                          Title: PRESIDENT
12   2 NORTHPOINT DRIVE, SUITE 150                                                               Trade Payables                                                                 $        210,447
                                          Phone: (281) 617-5512
     HOUSTON, TX 77060
                                          Email: FRANKS@JDRUSHCORP.COM
                                          Attn: LINDEN EVANS
                                          Title: CEO
     BLACK HILLS POWER
                                          Phone: (605) 721-1700
13   7001 MOUNT RUSHMORE RD                                                                      Trade Payables                                                                 $        174,100
                                          Email:
     RAPID CITY, SD 57702-8752
                                          LINDEN.EVANS@BLACKHILLSCORP.
                                          COM
                                          Attn: SUSAN CENSONI
                                          Title: CFO
     FORTIS ENERGY SERVICES INC
                                          Phone: (248) 283-7100
14   3001 W BIG BEAVER RD #525                                                                   Trade Payables                                                                 $        140,141
                                          Email:
     TROY, MI 48084
                                          SCENSONI@FORTISENERGYSERVICE
                                          S.COM
                                          Attn: WILLIAM PITTMAN
     SPN WELL SERVICES
                                          Title: VICE PRESIDENT
15   3333 N INTERSTATE 35 BLDG F                                                                 Trade Payables                                                                 $        126,184
                                          Phone: (940) 567-1106
     GAINESVILLE, TX 76240
                                          Email: WPITTMAN@SPNWS.COM
                                          Attn: GREG GAUB
     D&M SOLUTIONS INC                    Title: GENERAL MANAGER
16   21 SHELL OIL RD                      Phone: (406) 853-5295                                  Trade Payables                                                                 $        118,266
     BAKER, MT 59313                      Email: GREGDM@MIDRIVERS.COM
                                          Fax: (406) 778-2677

                                                   Attn: GLENN PUMPELLY
   PUMPELLY OIL ACQUISITION LLC                    Title: CEO
17 1890 SWISCO                                     Phone: (337) 625-1117                         Trade Payables                                                                 $        114,100
   SULPHUR , LA 70665-8212                         Email:
                                                   GLENN.PUMPELLY@RELADYNE.COM

                                                   Attn: GARY W. SAULS
   VA SAULS INC                                    Title: PRESIDENT
18 411 EAST MAIN ST.                               Phone: (601) 787-4321                         Trade Payables                                                                 $         83,573
   HEIDELBERG, MI 39439                            Email:
                                                   Fax: (601) 787-3409




Official Form 204                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                          Page 2
                                Case 20-33801 Document 1 Filed in TXSB on 07/30/20 Page 11 of 23
Debtor   Denbury Resources Inc et al.                                                                                                                      Case number (if known)___________________




     Name of creditor and complete mailing address, Name, telephone number, and email        Nature of the claim     Indicate if claim   Amount of unsecured claim
     including zip code                             address of creditor contact              (for example, trade    is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                             debts, bank loans,     unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                             professional services, disputed             claim amount and deduction for value of collateral or
                                                                                             and government                              setoff to calculate unsecured claim.
                                                                                             contracts)
                                                                                                                                         Total claim, if    Deduction for      Unsecured claim
                                                                                                                                         partially          value of
                                                                                                                                         secured            collateral or
                                                                                                                                                            setoff

                                                   Attn: DAVID A. CHERECHINSKY
   DNOW LP                                         Title: PRESIDENT & CEO
19 7402 N ELDRIDGE PKWY                            Phone: (281) 823-4719                         Trade Payables                                                                 $         71,636
   HOUSTON, TX 77041                               Email:
                                                   DAVID.CHERECHINSKY@DNOW.COM

                                         Attn: STEVE TAIT
     B&L PIPECO SERVICES INC
                                         Title: PRESIDENT & CEO
20 20465 SH 249 SUITE 200                                                                        Trade Payables                                                                 $         67,728
                                         Phone: (281) 955-3500
     HOUSTON, TX 77070
                                         Email: STEVE.TAIT@BLPIPECO.COM
                                         Attn: THOMAS KIRSCH
                                         Title: SUPERINTENDENT
     HAWKINS LEASE SERVICE INC           Phone: (281) 331-2739
21   3205 FM 2403                        Email:                                                  Trade Payables                                                                 $         66,086
     ALVIN , TX 77511                    TKIRSCH@HAWKINSLEASESERVICE.
                                         COM
                                         Fax: (281) 585-4295
                                         Attn: KARL BLANCHARD
                                         Title: INTERIM CEO & EVP
     WEATHERFORD ARTIFICIAL LIFT SYSTEMS
                                         Phone: (713) 836-4000
22   2000 ST. JAMES PL                                                                           Trade Payables                                                                 $         59,034
                                         Email:
     HOUSTON , TX 77056
                                         KARL.BLANCHARD@WEATHERFORD
                                         .COM
                                         Attn: BRETT REAGAN
     REAGAN POWER & COMPRESSION          Title: CAO
23   2550 BELLE CHASSE HWY               Phone: (504) 368-9760                                   Trade Payables                                                                 $         57,638
     GRETNA, LA 70053-6758               Email:
                                         BREAGAN@REAGANPOWER.COM
                                         Attn: ROBERT DRUMMOND
     C&J WELL SERVICES INC               Title: PRESIDENT & CEO
24   3990 ROGERDALE RD                   Phone: (713) 325-6000                                   Trade Payables                                                                 $         54,045
     HOUSTON, TX 77042-5142              Email:
                                         RDRUMMOND@CJENERGY.COM

                                                   Attn: DANNY M CORDOVA
     DC VACUUM INC
                                                   Title: EXECUTIVE DIRECTOR
25 17210 AUCTION BARN RD                                                                         Trade Payables                                                                 $         51,819
                                                   Phone: (713) 825-3064
     ALVIN, TX 77511-9466
                                                   Email: DCVACUUM2012@YAHOO.COM

                                                   Attn: THOMAS ADAMS
   GE OIL & GAS PRESSURE CONTROL LP                Title: CEO
26 4424 W SAM HOUSTON PKW N, STE 100               Phone: (281) 398-8901                         Trade Payables                                                                 $         50,698
   HOUSTON, TX 77041-8245                          Email: THOMAS.ADAMS@GE.COM
                                                   Fax: (281) 985-8600
                                                   Attn: GARY SHOULTS
     DIRECT ELECTRIC LLC
                                                   Title: PRESIDENT
27 2001 COURTRIGHT RD                                                                            Trade Payables                                                                 $         48,332
                                                   Phone: (614) 989-3051
     COLUMBUS, OH 43232
                                                   Email:
                                                   Attn: DAN RUNZHEIMER
                                                   Title: PRESIDENT
     ENDURANCE LIFT SOLUTIONS LLC
                                                   Phone: (281) 269-6880
28 201 W CALIFORNIA ST                                                                           Trade Payables                                                                 $         45,574
                                                   Email:
     GAINESVILLE, TX 76240-3904
                                                   DAN.RUNZHEIMER@ENDURANCELIF
                                                   T.COM
                                                   Attn: TIM DAVIS
                                                   Title: PRESIDENT
     WRANGLER WELL SERVICE INC                     Phone: (307) 857-3979
29 806 W MAIN ST                                   Email:                                        Trade Payables                                                                 $         44,708
     RIVERTON, WY 82501                            TIM.DAVIS@WELLDRILLINGCORP.CO
                                                   M
                                                   Fax: (307) 857-4266




Official Form 204                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                          Page 3
                                        Case 20-33801 Document 1 Filed in TXSB on 07/30/20 Page 12 of 23
Debtor     Denbury Resources Inc et al.                                                                                                                                                  Case number (if known)___________________




    Name of creditor and complete mailing address, Name, telephone number, and email                                     Nature of the claim     Indicate if claim     Amount of unsecured claim
    including zip code                             address of creditor contact                                           (for example, trade    is contingent,         If the claim is fully unsecured, fill in only unsecured
                                                                                                                         debts, bank loans,     unliquidated, or       claim amount. If claim is partially secured, fill in total
                                                                                                                         professional services, disputed               claim amount and deduction for value of collateral or
                                                                                                                         and government                                setoff to calculate unsecured claim.
                                                                                                                         contracts)
                                                                                                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                                                                                                       partially          value of
                                                                                                                                                                       secured            collateral or
                                                                                                                                                                                          setoff
                                                                   Attn: JASON A. NEVILLE
   APMTG HELIUM LLC                                                Title: PARTNER
                                                                                                                                                         Contingent
   C/O THE SPENCE LAW FIRM                                         Phone: (307) 733-7290
30                                                                                                                               Litigation             Unliquidated                                           Undetermined
   232 E. 2ND STREET, SUITE 101                                    Email:
                                                                                                                                                         Disputed
   CASPER, WY 82601                                                NEVILLE@SPENCELAWYERS.COM
                                                                   Fax: (307) 733-5248

Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Official Form 204                                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                        Page 4
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    Fill in this information to identify the case and this filing:

   Debtor Name          Denbury Resources Inc.

   United States Bankruptcy Court for the:                Southern District of Texas

                                                                                             (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Christian S. Kendall
                                       7/30/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Christian S. Kendall
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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